             IN THE UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF MISSOURI
                          SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                    Plaintiff,
                                                Case No. 18-03104-01-CR-S-BCW
v.

MICHAEL BRANNON,

                    Defendant.

                               MOTION FOR DETENTION

      Comes now the United States of America, by and through Timothy A. Garrison,

United States Attorney for the Western District of Missouri, and the undersigned Assistant

United States Attorney, and hereby moves this Court to order the detention of the

defendant, MICHAEL BRANNON, and states the following in support of the motion:

      1. An indictment has been filed charging the defendant with production of child

          pornography, in violation of Title 18, United States Code, Sections 2251(a).

      2. Title 18, United States Code, Section 3142(f) provides, in pertinent part, that

          hearing must be held by the appropriate judicial officer to determine whether

          any condition or combination of conditions “will reasonably assure the

          appearance of such person as required and the safety of any other person and the

          community” if the attorney for the Government moves for such a hearing and

          the case involves:

             “(E) any felony that is not otherwise a crime of violence that involves a minor

             victim… .”



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      3. Title 18, United States Code, Section 3142(e) mandates, subject to rebuttal, “it

          shall be presumed that no conditions or combination of conditions will

          reasonably assure the appearance of a person as required and the safety of the

          community if the judicial officer finds that there is probable cause to believe that

          there is probable cause to believe that the person committed—(E) an offense

          involving a minor victim under section 2251… of this title.”

      4. The defendant was brought to the attention of law enforcement officers after

          Facebook, Inc. learned that that the defendant was soliciting and obtaining

          sexually explicit images of children through its service.

      5. The defendant was previously the subject of a sexual exploitation investigation

          involving a 14-year-old child in 2017.

      6. The defendant acknowledged that he has been communicating with the victim

          and to receiving imagery depicting her breasts.

      7. This Court is obligated to consider “the nature and circumstances of the offense

          charged, including whether the offense… involves a minor victim… .” See 18

          U.S.C. § 3142(g)(1).

      8. The evidence against the defendant is overwhelming.              See 18 U.S.C. §

          3142(g)(2).

      Wherefore, based upon the foregoing, the United States submits that there is clear

and convincing evidence that there are no conditions, which the Court could place upon

the defendant, that would reasonably assure the defendant’s appearance in Court and the




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safety of the community. The Government therefore requests that a detention hearing be

held and that the defendant be detained pending trial of this matter.



                                                        Respectfully submitted,

                                                        Timothy A. Garrison
                                                        United States Attorney


                                                 By:    /s/ James J. Kelleher_____
                                                        James J. Kelleher
                                                        Assistant United States Attorney
                                                        Missouri Bar No. 51921




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                             CERTIFICATE OF SERVICE


       The undersigned hereby certifies that a copy of the foregoing was delivered on

October 2, 2018, to the CM-ECF system of the United States District Court for the Western

District of Missouri for electronic delivery to all counsel of record.



                                           /s/ James J. Kelleher
                                           James J. Kelleher
                                           Assistant United States Attorney




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